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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )
                                     )
           v.                        )     No. S1-4:11CR246 CDP
                                     )                     (FRB)
JAMES C. SMITH,                      )
DOMINIC HENLEY,                      )
ANTHONY ROBINSON, and                )
JERRY ELKINS,                        )
                                     )
                 Defendants.         )


                              MEMORANDUM,
                       REPORT AND RECOMMENDATION
                   OF UNITED STATES MAGISTRATE JUDGE


           All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).          Each of the above defendants filed motions

seeking to suppress evidence obtained by the government through the

use of court authorized electronic surveillance.             The motions are

as follows:

    1.     Defendant James C. Smith’s Motion To Suppress Contents Of
           Any And All Electronic Surveillance (Docket No. 419)

     2.    Defendant James C. Smith’s Supplement To Motion To
           Suppress Contents Of Any And All Electronic Surveillance
           (Docket No. 628)

     3.    Defendant Dominic Henley’s Motion To Suppress The
           Contents Of Any Electronic Surveillance (Docket No. 435)

     4.    D e f e n d a n t A n t h o n y R o b i n s o n ’s Motion To Suppr ess
           Electronic Surveillance (Docket No. 518), and

     5.    Defendant Jerry Elkin’s Motion To Suppress Electronic
           Surveillance Evidence (Docket No. 452)
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           Testimony and evidence was adduced on the defendants’

motions at a hearing before the undersigned on April 5, 2012.             From

the testimony and evidence adduced at the hearing the undersigned

makes the following findings of fact and conclusions of law:

                             Findings of Fact

           The evidence adduced at the evidentiary hearing shows

that the government conducted court ordered electronic surveillance

during the investigation of the matters alleged in the indictment.

The government intends to offer in evidence at trial conversations

of the defendants which were intercepted and recorded during such

surveillance.

           On January 10, 2011, Assistant United States Attorney

Sirena M. Wissler appeared before United States District Judge

Henry E. Autrey and made an application for interception of wire

communications over telephone number (630) 669-1107 (referred to in

the applications, affidavits, and orders as Target Telephone #1).

(See Government’s Exhibit 2A.)       The application was accompanied by

and referred to an affidavit of Andria Van Mierlo, a Special

Federal Officer with the Federal Bureau of Investigations (F.B.I.),

which was also signed and sworn before Judge Autrey on January 10,

2011. (See Government’s Exhibit 2-B.) Agent Van Mierlo’s affidavit

established that she was investigating several persons, including

the defendants James C. Smith, Dominic Henley, and Anthony Robinson

for violations of various federal laws.           The affidavit indicated


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that the communications of those individuals were expected to be

intercepted on telephone number (630) 669-1107 which was subscribed

to by Debra Thomas, and used by Allan Hunter, one of the persons

under investigation. The communications expected to be intercepted

and sought to be intercepted concerned the details of offenses

committed by the subjects as well as the nature, extent, and

methods of operation of the criminal activity being committed by

the suspects and others yet unknown, the identities and roles of

leaders, accomplices, aiders and abettors, co-conspirators and

participants in their illegal activities, and the precise scope and

nature of the operation, including the identification of other

unknown members of the conspiracy and the roles each co-conspirator

performs in the conduct and management of the enterprise, the

dates,   times,   places,    schemes    and    methods   for   the    criminal

enterprise    involving   racketeering,       drug   trafficking     and   money

laundering, the existence and location of records pertaining to the

suspects’ illegal activities, including information reflecting the

manner in which the division of payments for the illegal acts

occurs, and the location and disposition of proceeds from those

activities,    information    concerning      the    amounts   and   types   of

criminal predicate acts committed by the suspects, the existence,

location, and disposition of drugs, guns, stolen property, evidence

of assaults and cash, and admissible evidence as to the commission

of the above described offenses.


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           The affidavit set out that investigators had received

information from two separate confidential human sources (CHS)

involving the activities of the persons involved in the criminal

activities under investigation.           One of the confidential human

sources   (CHS-1)    had    been   in   contact    with    subjects     of   the

investigation and had made numerous audio and video recordings with

the subjects. The affidavit set out the nature of the relationship

between the CHS-1 and the subjects, and described transactions and

conversations that occurred between the subjects and CHS-1.                  The

affidavit also described related law enforcement activities which

had corroborated or confirmed information provided by CHS-1.                 The

affidavit also described that pen register surveillance had been

conducted on the telephone for which the wiretap order was being

sought, and that information gathered through the use of the pen

registers and toll records, described in detail in the affidavit,

showed extensive contacts between the subjects using the described

telephone.

           Lastly, the affidavit explained why the wiretap was

needed and the reasons why alternative investigative techniques had

not been, or were not likely to be, successful in determining the

entire manner and scope of the organization’s activities, or were

too dangerous to be used.          The affidavit set out in detail the

investigative tools and methods used in the investigation thus far,

including visual surveillance of the suspects, pen registers,


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telephone toll records analysis, grand jury proceedings, witness

interviews, confidential informants, undercover officers, search

warrants,    arrests,      review      of      reports    of    past    incidents,          and

financial investigations. The affidavit recited in specific detail

how   each   of   these        investigative      tools    had     been    used       in    the

investigation      and    why     each    tool    had     not    been     successful         in

achieving the goals of the investigation or why they would not be

successful in doing so, or were too dangerous to use.                                      (See

Government’s Exhibit 2B, Pp. 52-78; Exhibit 2D.)

             On   January       10,   2011,      Judge    Autrey       signed    an    order

authorizing the interception of wire communications over telephone

number (630) 669-1107.            (See Government’s Exhibit 2C.)                 The order

states that the Court found probable cause to believe that the

listed   individuals           were   committing        violations        of    21    U.S.C.

841(a)(1), 843(b), 846 and Title 18 U.S.C. §§ 1962, 1963, 1959,

924(c), 1956 and 1957; that the telephone listed was being used in

connection    with       the    commission       of   those      offenses;       and       that

communications       concerning          the    offenses        were    likely        to     be

intercepted.       The order also found that normal investigative

techniques had been tried and had failed, reasonably appeared to be

unlikely to succeed if tried; or were too dangerous to be employed.

The order authorized the wiretap interception for thirty (30) days.




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            On February 9, 2011, Assistant United States Attorney

Sirena M. Wissler appeared before United States District Judge

Audrey     G.   Fleissig    and   made    an    Application    for    Continued

Interception of Wire Communications over telephone number (630)

669-1107.       (See Government’s Exhibit 2H.)            The application was

again accompanied by and referred to an affidavit of F.B.I. Special

Officer     Andria   Van    Mierlo.       The   affidavit     reiterated      and

incorporated the information set out in Officer Van Mierlo’s

previous    affidavit      accompanying   the    first    application.        The

affidavit set out information that had been learned since the first

application, including some of the information learned as a result

of the first 30 day interception period.           The affidavit noted that

the information learned during the first interception had been

helpful but that it had not revealed the entire scope of the

organization, its activities, and members.                  (See Government’s

Exhibit 2I.)

            On February 9, 2011, Judge Fleissig signed an Order

Authorizing the Continued Interception of Wire Communications over

telephone number (630)669-1107.           (See Government’s Exhibit 2J.)

The Order states that the Court found probable cause to believe

that the listed individuals were committing violations of 21 U.S.C.

§§ 841(a)(1), 843(b), 846 and 18 U.S.C. §§ 1962, 1963, 1959,

924(c), 1956 and 1957; and that communications concerning the

offenses were likely to be intercepted. The Order again found that


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normal    investigative       techniques     had    been     tried    and    failed;

reasonably appeared to be unlikely to succeed if tried; or were too

dangerous to be employed.               The Order authorized the continued

wiretap interception for 30 days.

            On March 10, 2011, Assistant United States Attorney

Kenneth R. Tihen appeared before United States District Judge E.

Richard   Webber      and    made   a    Second    Application       for    Continued

Interception of Wire Communications over telephone number (630)

669-1107.     (See Government’s Exhibit 2N.)                The application was

again accompanied by and referred to an affidavit of F.B.I. Special

Officer     Andria    Van     Mierlo.       The    affidavit     reiterated      and

incorporated the information set out in Officer Van Mierlo’s

previous affidavits accompanying the first and second applications.

The affidavit set out some of the information learned as a result

of the second 30 day interception period. The affidavit noted that

the information learned during the first and second interceptions

had been helpful but had not revealed the entire scope of the

investigation,       its    activities,    and    members.    (See    Government’s

Exhibit 20.)

            On March 10, 2011, Judge Webber signed the Second Order

Authorizing the Continued Interception of Wire Communications over

telephone number (630)669-1107.             (See Government’s Exhibit 2P.)

The Order states that the Court found probable cause to believe

that the listed individuals were committing violations of 21 U.S.C.


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§§ 841(a)(1), 843(b), 846 and 18 U.S.C. §§ 1962, 1963, 1959,

924(c), 1956 and 1957; and that communications concerning the

offenses were likely to be intercepted. The Order again found that

normal    investigative    techniques      had   been    tried    and    failed;

reasonably appeared to be unlikely to succeed if tried; or were too

dangerous to be employed.             The Order authorized the continued

wiretap interception for 30 days.

            Target Telephone #1 was used during the course of the

interception by Allan Hunter.             The telephone and Hunter were

physically located during most if not all of that time in the State

of Illinois.     All of the conversations monitored and intercepted

pursuant to the intercept orders were overheard and monitored by

officers in St. Louis, Missouri.

            The law enforcement personnel involved in monitoring

conversations pursuant to the court ordered electronic surveillance

were instructed prior to beginning their monitoring as to the types

of conversations to be intercepted and the types to be minimized,

methods of doing so, etc.        (See Government’s Exhibit 1 - 10 page

letter from Assistant United States Attorney Sirena M. Wissler to

all Monitoring Agents and Officers.)                All officers or agents

involved in the monitoring are required to read and sign a copy of

the letter (Exhibit 1).         There was also a face to face meeting

between   the   agents    and   the    government   attorney     at   which   the

minimization requirements were further explained.                     During the


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interceptions    the      monitoring    officers    used   a   system    of   spot

monitoring whereby conversations were monitored for two minutes.

If the conversations appeared nonpertinent to the matters being

investigated the monitoring was terminated.                One or two minutes

later the officers would again begin monitoring for pertinent

conversations.

                                   Discussion

           As grounds to suppress evidence obtained by means of the

court   authorized     interceptions      defendants       Smith,   Henley     and

Robinson argue that the affidavits of Officer Van Mierlo fails to

meet the so-called necessity requirement of 18 U.S.C. § 2518(1)(c)

that normal investigative procedures have been tried and failed, or

appear unlikely to succeed or are too dangerous to undertake.

           [T]he necessity requirement of section 2518
           was meant to insure that wiretaps are not
           routinely employed as the initial step in an
           investigation. Thus, while the statute does
           require that normal investigative procedures
           be used first, it does not require that law
           enforcement officers exhaust all possible
           techniques before applying for a wiretap. The
           government is simply not required to use a
           wiretap only as a last resort.     Whether the
           statutory requirement is met is to be
           determined   by  the   issuing   judge   in  a
           commonsense manner . . .

United States v. Macklin, 902 F.2d 1320, 1326-27 (8th Cir. 1990),

cert. denied 498 U.S. 1031 (1991).             Here, the wiretap was not used

as the initial step in the investigation.            The affidavit described

various techniques used by law enforcement officials to gather


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evidence in the case.             Although some of these techniques had

developed some evidence, “Even if conventional techniques have been

somewhat successful . . . a wiretap may still be authorized.”

United States v. Maxwell, 25 F.3d 1389, 1394 (8th Cir. 1994).                    The

affidavit    described       in   great    detail     why   some    investigative

techniques had failed or why they would be of no value.                          The

affidavit described that the use of various techniques had failed

to fully reveal the full scope of the conspiracy, its complete

membership and methods of operation.              This is sufficient to meet

the necessity requirement.           United States v. Thompson, 210 F.3d

855, 858-59 (8th Cir. 2000); United States v. Jackson, 345 F.3d

638, 644 (8th Cir. 2003).

            Defendants Henley and Elkins in support of their motions

to   suppress     evidence    assert     that   the   telephone     conversations

intercepted pursuant to the orders were not properly “minimized.”

            18 U.S.C. § 2518(5) imposes a duty on the government to

conduct the surveillance in a way to ensure that unauthorized

interceptions will be minimized.            Whether the government complied

with     those     requirements      is     determined      by     an     objective

reasonableness standard.           Scott v. United States, 463 U.S. 128

(1978); United States v. Williams, 109 F.3d 502, 507 (8th Cir.

1997).      The   burden     is   upon    the   defendant   to     show   that   the

government did not meet the minimization requirements.                       United

States v. Garcia, 785 F.2d 214, 221-22 (8th Cir.), cert. denied,


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sub. nom. Barker v. United States, 475 U.S. 1143 (1986); United

States v. Giacalone, 853 F.2d 470, 482 (6th Cir. 1988).

           In   considering  whether   the    government’s
           conduct was reasonable, a reviewing court must
           consider a variety of factors, including the
           scope   of   the   enterprise,    the   agent’s
           reasonable expectation of the content of a
           call, the extent of judicial supervision,
           length and origin of a call, and use of coded
           or ambiguous language.         More extensive
           wiretapping    is    reasonable     when    the
           investigation focuses on determining the scope
           of a widespread conspiracy. The same is true
           when the conversations are in [jargon]. Thus,
           the government’s conduct could be reasonable
           even if the total number of conversations
           intercepted contained a high percentage of
           nonpertinent calls.

United States v. Macklin, 902 F.2d 1320, 1328 (8th Cir. 1990),

cert. denied, 498 U.S. 1031 (1991) (Internal citations omitted).

           After consideration of these factors it appears that the

agent’s   efforts   were     reasonable     in   this     case.      The   order

authorizing   the   wiretap     named   numerous   interceptees.           If   an

intercepted phone call involved one or more nonnamed interceptees

and was non-criminal in nature, the order required the listening

agent to minimize the call.       The order also required the agents to

submit ten-day reports to the authorizing judge to ensure that

proper minimization techniques were being used.               The monitoring

agents were aware of the minimization requirement and were trained

and instructed in how to comply with such requirement and so

acknowledged in writing before the interceptions began.                    United

States v. Avery, 589 F.3d 936, 939 (8th Cir. 2009).               The spot check

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method of monitoring used by the agents has been held to be a

reasonable method of minimization of nonpertinent conversations.

United States v. Ozar, 50 F.3d 1440, 1448 (8th Cir.) cert. denied,

516 U.S. 871 (1995).           Defendant Elkins focuses on the number of

conversations which were not minimized in support of his motion.

Because of the nature of the matters being investigated, the large

number of persons involved, and the use of jargon or code words by

the participants in the conversations it was reasonable that more

conversations would be overheard. United States v. Avery, 589 F.3d

at 939; United States v. Ozar, 50 F.3d 1447-48. Further, even if

there were minimization violations, the suppression of all evidence

obtained pursuant to the order, as sought by the defendant, is not

an appropriate remedy.          The appropriate remedy is suppression of

any   nonpertinent        or     privileged   conversations       which   were

intercepted.    Id.   The defendant has not adduced any evidence of

specific conversations which he claims should be suppressed.

           Defendants Smith, Henley, Robinson and Elkins assert in

their motions as grounds to suppress the evidence obtained as the

result of the court authorized interception that the United States

District   Court   was     without    jurisdiction   to   issue    the    Order

authorizing the interception because the telephone over which calls

were to be intercepted (Target Telephone #1) was never located in

the Eastern District of Missouri.




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              Evidence before the Court shows that Target Telephone #1

was a mobile cellular telephone used by Allan Hunter, one of the

subjects of the investigation. At the time of the applications for

the   three    orders,      and   apparently      at   most   times     during       these

interceptions, Hunter and the telephone, were located in the State

of Illinois. However, the place at which the intercepted telephone

calls were being contemporaneously monitored and first listened to

was located in St. Louis, Missouri.

              To    obtain    a    wiretap     authorization        order,       a     law

enforcement        agent   must   file    an   application       with   a    “judge    of

competent jurisdiction,” id. § 2518(1), which is defined to include

“(a) a judge of a United States district court or a United States

court of appeals,” id. § 2510(9).                 Section 2518(3) authorizes a

district      judge    to    approve      a    tap     “within    the       territorial

jurisdiction of the court in which the judge is sitting (and

outside that jurisdiction but within the United States in the case

of a mobile interception device authorized by a Federal court

within such jurisdiction).” “Interception” is defined as “aural or

other acquisition of the contents of any wire, electronic or oral

communication through the use of any electronic, mechanical or

other device.”        Id. § 2510(4).

              In United States v. Rodriguez, 968 F.2d 130 (2nd Cir.),

cert. denied, 506 U.S. 847 (1992), the Second Circuit Court of

Appeals held that



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              [T]he language of §2510(4), the legislative
              history of that section, and the policy
              considerations of Title III all persuade us
              that for purposes of §2518(3)’s jurisdictional
              requirement, a communication is intercepted
              not only where the tapped telephone is
              located, but also where the contents of the
              redirected communications are first to be
              heard.

Id. at 136.

Numerous courts have since followed and agreed with this holding in

Rodriguez.      See United States v. Tavarez, 40 F.3d 1136 (10th Cir.

1994); United States v. Denman, 100 F.3d 399, 403 (5th Cir. 1996);

United States v. Ramirez, 112 F.3d 849, 851-53 (7th Cir. 1997);

United States v. Luong, 471 F.3d 1107 (9th Cir. 2006).               Defendants

Robinson and Elkins seem to imply in their motions that the holding

in United States v. Nelson, 837 F.2d 1519 (11th Cir. 1988) is to

the contrary.        While it is true that in Nelson the court held that

the place of interception refers to the place where a communication

is initially obtained, several courts have construed the holding in

Nelson   as    not    ruling   out   “the   possibility     that   the    initial

listening to the recording by the intercepting agent might also be

considered part of the interception.” United States v. Denman, 100

F.3d at 403; United States v. Tavarez, 40 F.3d at 1138, Fn1 (Same).

              Several of the defendants imply that the judges who

signed the intercept orders were misled by the government into

believing     that    Target   Telephone    #1   was   at   the    time   of   the

application, or at some other time, within the Eastern District of



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Missouri.    Such is clearly not the case as each of Officer Van

Mierlo’s three affidavits stated that,

            HUNTER and Target Telephone #1 are located in
            the Northern District of Illinois, however
            HUNTER has utilized Target Telephone #1 to
            contact CHS-1 and other St. Louis Chapter WOS
            OMG members. The criminal investigation into
            the WOS OMG originated with the St. Louis WOS
            OMG Chapter. As the investigation progressed,
            it was revealed that the St. Louis Chapter and
            numerous other WOS OMG chapters were part of
            the larger criminal WOS OMG organization which
            spans across the United States. The wire room
            and recording equipment will be physically
            located in St. Louis, Missouri.

(See Government’s Exhibit 2B, P.7, Fn1; Government’s Exhibit 2I,

P.4, Fn1; and Government’s Exhibit 20, P.4,Fn.1). In United States

v.   Ramirez,   supra     the   court   noted   that   the     intercept    order

contained language, similar to the order in this case, that “in the

event that the cellular telephone is transferred outside the

territorial jurisdiction of this Court, interceptions may take

place in any jurisdiction within the United States.”                The court in

Ramirez held    that      the   intercept   order   issued     in   the   Western

District of Wisconsin was valid even though the target telephone

“may never have been there.”         Ramirez, 112 F.3d at 852.

            Because the intercepted conversations were heard and

monitored at the “listening post” in St. Louis, Missouri, within

the Eastern District of Missouri, the court had jurisdiction to

issue the orders.

            Defendant Robinson asserts that the United States Supreme

Court holding in United States v. Jones, ___ U.S. ___, 132 S.Ct.

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945   (2012)    supports    his   claim   that    the     court   was   without

jurisdiction to enter the intercept orders.             In Jones the Supreme

Court held that the warrantless use of a tracking device violated

the Fourth Amendment.         Defendant quotes a footnote in Justice

Alito’s concurring opinion which he claims supports his position in

this motion.     The footnote reads as follows:

             In this case, the agents obtained a warrant,
             but they did not comply with two of the
             warrant’s restrictions: They did not install
             the GPS device within the 10-day period
             required by the terms of the warrant and by
             Fed. Rule Crim. Proc. 41(e)(2)(B)(i), and they
             did not install the GPS device within the
             District of Columbia, as required by the terms
             of the warrant and by 18 U.S.C. § 3117(a) and
             Rule 41(b)(4).     In the courts below the
             Government did not argued, and has not argued
             here, that the Fourth Amendment does not
             impose these precise restrictions and that the
             violation of these restrictions does not
             demand the suppression of evidence obtained
             using the tracking device. See, e.g. United
             States v. Gerber, 994 F.2d 1556, 1559-1560
             (C.A.11 1993); United States v. Burke, 517
             F.2d 377, 386-387 (C.A.2 1975).    Because it
             was not raised, that questions is not before
             us.

      U.S.     , 112 S.Ct. at 964, n.11.         As noted by Justice Alito,

the claim asserted by defendant Robinson here was not before the

Court in Jones, and the holding of Jones is inapplicable to the

jurisdictional claims made by defendant Robinson in his motion.

             Defendant Robinson also asserts that the government’s

use of a GPS cell phone tracking device to locate and apprehend him

in another district based on a warrant issued in this district was

also unlawful because this court had no jurisdictional authority to

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issue the warrant.    The defendant’s argument is again based on the

Supreme Court’s holding in Jones, which as noted above is not

applicable here because, as noted by Judge Alito, the issue was not

raised or decided in Jones.      The government states that it does not

intend to offer in evidence any evidence or information obtained

through the use of the GPS device.       The defendant asserts that his

“arrest” should be suppressed.       Even if law enforcement officials

were able to locate and arrest the defendant as the result of the

use of a GPS device obtained and executed in some way as to violate

defendant’s Fourth Amendment rights, that fact would not be grounds

to “suppress” the arrest.        An illegal arrest is not a bar to a

subsequent prosecution and conviction. United States v. Crews; 445

U.S. 463, 474 (1980).     The defendant is not himself a suppressible

“fruit” of an illegal arrest. Id.

           Defendant Robinson also avers in his motion that similar

GPS orders were entered regarding other defendants. He claims that

the use of such orders violated the Fourth Amendment and suggests

that the court should conduct a hearing to determine whether the

application and orders for electronic surveillance were tainted by

the acquisition of such evidence.          The defendant has presented

absolutely no evidence to the court in support of these assertions

and therefore, no hearing on this claim was required.                  United

States v. Mims, 812 F.2d 1068, 1073-74 (8th Cir. 1987).




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                                   Conclusion

              For all of the foregoing reasons the defendants’ motions

should be denied.


              Accordingly,

              IT IS HEREBY RECOMMENDED that Defendant James C. Smith’s

Motion To Suppress Contents Of Any And All Electronic Surveillance

(Docket No. 419); Defendant James C. Smith’s Supplement To Motion

To Suppress Contents Of Any And All Electronic Surveillance (Docket

No.   628);    Defendant     Dominic     Henley’s   Motion    To   Suppress   The

Contents Of Any Electronic Surveillance (Docket No. 435); Defendant

Anthony   Robinson’s      Motion    To   Suppress   Electronic     Surveillance

(Docket No. 518), and Defendant Jerry Elkin’s Motion To Suppress

Electronic Surveillance Evidence (Docket No. 452) be denied.


              The parties are advised that any written objections to

these findings and determinations shall be filed not later than

October 5, 2012.      Failure to timely file objections may result in

waiver of the right to appeal questions of fact.              Thompson v. Nix,

897 F.2d 356, 357 (8th Cir. 1990).




                                         UNITED STATES MAGISTRATE JUDGE



Dated this 28th day of September, 2012.


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